 

 

Case 6:21-mj-01584-GJK Document 6 Filed 07/20/21 Page 1 of 1 PagelD 14

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

UNITED STATES OF AMERICA

VS, CASE NO: 6:21-mj-1584-GJK

KELLY BROWN

 

ORDER OF DETENTION PENDING TRIAL

FINDINGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), the following facts and
circumstances require the defendant to be detained pending trial.

The defendant makes no application for release at this time. A motion for conditions
of release and a detention hearing may be filed at a later date.

DIRECTIONS REGARDING DETENTION

Kelly Brown is committed to the custody of the Attorney General or his designated representative for
confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or
being held in custody pending appeal. Kelly Brown shall be afforded a reasonable opportunity for private consultation
with defense counsel. On order of a Court of the United States or on request of an attorney for the government, the
person in charge of the corrections facility shall deliver the Defendant to the United States marshal for the purpose of

an appearance in connection with a Court proceeding.

ae GREGORY J/KELLY
UNITED STATES MAGISTRATE JUDGE

Date: July 20, 2021

 
